                                Case 1:23-mj-00109-RMM Document 5 Filed 06/05/23 Page 1 of 1
AO 442 (Rev. 11/11)      Arrest Warrant




                                                UNITED STATES DISTRICT COURT
                                                                             for the

                                                                    District of Columbia

                        United States of America
                                    v.                                         )       Case: 1:23~mje00109
                                                                               )
                        SCOTT COLUMBUS                                                 Assigned to: Judge Meriweather, Robin M.
                                                                               )
                                                                                       Assig,n Date,: 5/24/2023
                                                                               )
                                                                                       Desor~ption; COMPLAIINT WI ARREST WAR.RANT
                                                                               )
                                                                               )
                                  Defendant


                                                                ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                       to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                    SCOTT COLUMBUS
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment              o     Superseding Indictment            o Information       o   Superseding Information           11. Complaint
o     Probation Violation Petition                   o   Supervised Release Violation Petition      o Violation    Notice          0 Order of the Court

This offense is briefly described as follows:

18 U.S.C.      § 1752(a)(I) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority.
18 U.S.C.      § 1752(a)(2) - Disorderly or Disruptive Conduct in, a Restricted Building or Grounds.
40 U.S.C.      § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building.
40 U.S.C.      § 5104(e)(2)(G) - Parade, Demonstrate, or Picket in any of the Capitol Buildings.

                                                                                                                        2023.05.24
Date: __           0=5~/2~4~/2=0=2=3
                             __
                                                                                                                        16:52:46 -04'00'
                                                                                                     Issuing officer's signature


City and state:                           Washin     on D.C.
                                                                                                       Printed name and title


                                                                            Return

            This warrant w           received on     (date)
at   (city and state)             <. 0 C4,j ~)felZ    flul



                                                                                                    Arresting officer's signature



                                                                                                       Printed name and title
